       CASE 0:20-cv-00964-DSD-ECW Doc. 1 Filed 04/16/20 Page 1 of 25




                    UNITED STATES DISTRICT COURT
                       DISTRICT OF MINNESOTA


Deborah Vruno,                                       Case No. 0:20-cv-00964

            Plaintiff,
v.                                                       COMPLAINT

Halsted Financial Services, Inc.
                                                    JURY TRIAL DEMANDED
            Defendant.


                                   INTRODUCTION

1.    This action arises out of Defendant’s violations of the Fair Debt Collection

      Practices Act, 15 U.S.C. § 1692 et seq. (“FDCPA”) and the Telephone

      Consumer Protection Act, 47 U.S.C. § 227 (“TCPA”) as well as the

      invasions of Plaintiffs’ personal privacy by Defendant and its agents in their

      illegal efforts to collect a consumer debt.

                                   JURISDICTION

2.    Jurisdiction of this Court arises under 28 U.S.C. § 1331 for federal claims,

      28 U.S.C. § 1367 for supplemental state law claims, and pursuant to 15

      U.S.C. § 1692k(d).

3.    Venue is proper in this District because the acts and transactions occurred

      here, and Defendant and transacts business here.

4.    Defendant has transacted business within the State of Minnesota by



                                         -1-
      CASE 0:20-cv-00964-DSD-ECW Doc. 1 Filed 04/16/20 Page 2 of 25




     attempting to collect a debt from Plaintiff via the mails and telephone system

     located in Minnesota, as well as registering itself as a licensed debt collector

     and as a corporation here.

                                    PARTIES

5.   Plaintiff Deborah Vruno (hereinafter “Plaintiff”) is a natural person who

     resides in the City of Saint Paul, County of Ramsey, State of Minnesota, and

     is a “consumer” as that term is defined by 15 U.S.C. § 1692a(3) or a person

     affected by a violation of that law.

6.   Plaintiff has suffered an injury in fact that is traceable to Defendant’s

     conduct and that is likely to be redressed by a favorable decision in this

     matter.

7.   Defendant Halsted Financial Services, Inc. (hereinafter “Defendant”) is a

     collection agency and Illinois corporation operating from a principal office

     address of 8001 N. Lincoln Ave., Suite 500, Skokie, IL 60077–3007, with a

     registered office address of Corporation Service Company, 2345 Rice Street,

     Suite 230, Roseville, MN 55113, and is a “debt collector” as that term is

     defined by 15 U.S.C. § 1692a(6).

                         FACTUAL ALLEGATIONS

8.   Within one year immediately preceding the filing of this complaint,

     Defendant attempted to collect from Plaintiff a financial obligation that was



                                        -2-
       CASE 0:20-cv-00964-DSD-ECW Doc. 1 Filed 04/16/20 Page 3 of 25




      primarily for personal, family or household purposes, and is therefore a

      “debt” as that term is defined by 15 U.S.C. § 1692a(5), by attempting to

      collect this debt from Plaintiff in the State of Minnesota.

9.    Sometime before 2018, Plaintiff allegedly incurred a financial obligation

      that was primarily for personal, family or household purposes, namely, a

      consumer debt in the approximate amount of $2,447.13 arising out of an

      alleged debt to Credit One Bank, N.A., that was for Plaintiff’s personal,

      family and household purposes (“debt”).

10.   Plaintiff disputes this alleged debt, the final bill on this account, and any

      remaining balance, and is represented by the undersigned counsel both with

      respect to this debt and to the claims made herein.

11.   Despite Defendant having been previously warned not to call Plaintiff

      regarding this disputed debt, in the period one-year immediately preceding

      the filing of this lawsuit, Defendant called Plaintiff on her cellular telephone

      number on numerous occasions and over her repeated objections.

             Illegal Automated Calls to Plaintiff’s Cellular Telephone

12.   Plaintiff received a series of harassing automated calls on her cellular

      telephone from Defendant in violation of the FDCPA and TCPA, as well as

      Minnesota law.

13.   These calls from Defendant to Plaintiff were automated because each call



                                         -3-
       CASE 0:20-cv-00964-DSD-ECW Doc. 1 Filed 04/16/20 Page 4 of 25




      involved clicks, pauses, silence, unanswered hang-ups and spoofed caller ID

      which was randomized and localized to appear to show that the calls

      originated from local Minneapolis telephone numbers despite the fact that

      they originated from Skokie, Illinois.

14.   On January 6, 2020, at approximately 9:59 a.m., using Caller ID No. 612-

      351-4055, Plaintiff received a call from Defendant on her cellular telephone

      from an automated telephone dialing system. No live person ever came on

      the line and after the telephone clicked a few times the Defendant’s system

      then hung up on Plaintiff.

15.   On January 6, 2020, at approximately 11:34 a.m., using Caller ID No. 612-

      351-3992, Plaintiff received another automated call from Defendant.

16.   On January 7, 2020, at approximately 11:30 a.m., using Caller ID No. 612-

      324-0079, Plaintiff received another automated call from Defendant.

17.   On January 7, 2020, at approximately 12:42 p.m., using Caller ID No. 612-

      324-1249, Plaintiff received another automated call from Defendant.

18.   On January 8, 2020, at approximately 9:28 a.m., using Caller ID No. 612-

      324-0079, Plaintiff received another automated call from Defendant.

19.   On January 8, 2020, at approximately 10:30 a.m., using Caller ID No. 612-

      324-0079, Plaintiff received another automated call from Defendant.

20.   On January 9, 2020, at approximately 10:25 a.m., using Caller ID No. 612-



                                        -4-
       CASE 0:20-cv-00964-DSD-ECW Doc. 1 Filed 04/16/20 Page 5 of 25




      351-3992, Plaintiff received another automated call from Defendant.

21.   On January 10, 2020, at approximately 11:07 a.m., using Caller ID No. 612-

      324-0079, Plaintiff received another automated call from Defendant.

22.   On January 10, 2020, at approximately 11:28 a.m., using Caller ID No. 612-

      351-4055, Plaintiff received another automated call from Defendant.

23.   On January 11, 2020, at approximately 8:53 a.m., using Caller ID No. 651-

      351-4089, Plaintiff received a call from Defendant on her cellular telephone

      from an automated telephone dialing system. No live person ever came on

      the line and after the telephone clicked a few times the Defendant’s system

      then hung up on Plaintiff.

24.   On January 11, 2020, at approximately 2:51 p.m., using Caller ID No. 612-

      351-3992, Plaintiff received another automated call from Defendant.

25.   On January 13, 2020, at approximately 10:49 a.m., using Caller ID No. 612-

      324-0079, Plaintiff received a call from Defendant on her cellular telephone

      from an automated telephone dialing system. No live person ever came on

      the line and after the telephone clicked a few times the Defendant’s system

      then hung up on Plaintiff.

26.   On January 13, 2020, at approximately 11:29 a.m., using Caller ID No. 612-

      324-1249, Plaintiff received a call from Defendant on her cellular telephone

      from an automated telephone dialing system. No live person ever came on



                                       -5-
       CASE 0:20-cv-00964-DSD-ECW Doc. 1 Filed 04/16/20 Page 6 of 25




      the line and after the telephone clicked a few times the Defendant’s system

      then hung up on Plaintiff.

27.   On January 13, 2020, at approximately 4:01 p.m., using Caller ID No. 612-

      351-4055, Plaintiff received another automated call from Defendant.

28.   On January 14, 2020, at approximately 8:43 a.m., using Caller ID No. 612-

      351-4089, Plaintiff received a call from Defendant on her cellular telephone

      from an automated telephone dialing system. No live person ever came on

      the line and after the telephone clicked a few times the Defendant’s system

      then hung up on Plaintiff.

                        Collection Call on January 6, 2020

29.   After Defendant began collecting this alleged debt, Plaintiff told

      Defendant’s collectors to stop calling her cellular telephone, but it refused.

30.   Specifically, on or about 11:24 a.m. on January 6, 2020, Plaintiff received a

      call from Defendant who used the localized caller ID information showing

      phone number 612-351-4089.

31.   Plaintiff spoke with a debt collector employed by Defendant who asked

      Plaintiff for payment in full or a payment arrangement on this debt.

32.   Plaintiff explained that she had just lost her job of 29-years and was very

      upset.

33.   Plaintiff was in tears about her job loss and was not even receiving



                                         -6-
       CASE 0:20-cv-00964-DSD-ECW Doc. 1 Filed 04/16/20 Page 7 of 25




      unemployment compensation yet, and had absolutely no income coming in.

34.   Plaintiff explained that as soon as she got a new job shoe would call

      Defendant back immediately and make payment arrangements, and

      thereafter the call ended.

35.   Plaintiff was extremely upset by the receipt of this collection call from

      Defendant because she had already repeatedly explained her financial

      situation to Defendant.

                        Collection Call on January 7, 2020

36.   On January 7, 2020, at approximately 12:45 p.m., Plaintiff returned a 612-

      324-1249 call from Defendant that she had missed on her cellular telephone.

37.   Plaintiff spoke to Defendant’s collection employee and told them again that

      she was out of work and had no income and would be calling them to make

      arrangements as soon as she was re-employed. Thereafter, the call ended.

38.   Plaintiff was extremely upset by the receipt of this collection call from

      Defendant because she had already repeatedly explained her financial

      situation to Defendant.

                        Collection Call on January 9, 2020

39.   On January 9, 2020, at approximately 11:33 a.m., Plaintiff received a call

      from Defendant’s phone number 612-324-0079.

40.   Plaintiff spoke to Defendant’s collection agent and again told them the same



                                       -7-
       CASE 0:20-cv-00964-DSD-ECW Doc. 1 Filed 04/16/20 Page 8 of 25




      information, namely, that she was out of a job and very emotionally upset as

      a result of the collection calls.

41.   Plaintiff reiterated that she had no income yet but would call back when she

      was re-employed to make payment arrangements.

42.   Plaintiff specifically asked that Defendant stop calling her cell phone,

      assuring them that she would eventually call them back and give updates on

      my financial situation once she was working again.

43.   Defendant’s collection agent stated that since Plaintiff had not taken care of

      this debt, that Defendant was going to continue to call her. Thereafter the

      call ended.

44.   Plaintiff was extremely upset by the receipt of this collection call from

      Defendant because she had already repeatedly explained her financial

      situation and demanded that Defendant stop calling her cellular telephone.

                        Collection Call on January 10, 2020

45.   On January 10, 2020, at approximately 12:07 p.m., Plaintiff returned a call

      that she had received from Defendant’s phone number 612-351-4055.

46.   Plaintiff spoke to one of Defendant’s collection agents and again told them

      the same information, namely, that she was out of work and very upset of

      her situation and the continued collection calls.

47.   Plaintiff again explained that she had lost her job of 29 years and that she



                                          -8-
       CASE 0:20-cv-00964-DSD-ECW Doc. 1 Filed 04/16/20 Page 9 of 25




      had no income yet and would call back to make payment arrangements once

      she returned to work.

48.   Plaintiff again specifically asked Defendant for a second time to stop calling

      her cellular telephone, but was again told by the collector that because she

      had not agreed to make payments or other arrangements to pay this debt, that

      the calls would not stop. Thereafter the collection call ended.

49.   Plaintiff was extremely upset by the receipt of this collection call from

      Defendant because she had already repeatedly explained her financial

      situation and demanded that Defendant stop calling her cellular telephone.

                       Collection Call on January 11, 2020

50.   On January 11, 2020, at approximately 3:25 p.m., Plaintiff returned a call

      that she had received from Defendant’s phone number 612-351-3992.

51.   Plaintiff spoke to one of Defendant’s collection agents and again told them

      the same information, namely, that she was out of work and very upset of

      her situation and the continued collection calls.

52.   Plaintiff again explained that she had lost her job and that she had no income

      yet and would call back to make payment arrangements once she returned to

      work. Thereafter the collection call ended.

53.   Plaintiff was extremely upset by the receipt of this collection call from

      Defendant because she had already repeatedly explained her financial



                                         -9-
      CASE 0:20-cv-00964-DSD-ECW Doc. 1 Filed 04/16/20 Page 10 of 25




      situation and demanded that Defendant stop calling her cellular telephone.

                        Collection Call on January 14, 2020

54.   On January 14, 2020, at approximately 8:53 a.m., Plaintiff received a call

      from Defendant’s phone number 651-351-3992.

55.   Plaintiff spoke to Defendant’s collection agent and again told them the same

      information, namely, that she was out of a job and very emotionally upset as

      a result of the collection calls.

56.   Plaintiff again explained that she had lost her job and that she had no income

      yet and would call back to make payment arrangements once she returned to

      work. Thereafter the collection call ended.

57.   Plaintiff was extremely upset by the receipt of this collection call from

      Defendant because she had already repeatedly explained her financial

      situation and demanded that Defendant stop calling her cellular telephone.

                     First Collection Call on January 15, 2020

58.   On January 15, 2020, at approximately 11:36 a.m., Plaintiff received a call

      from Defendant’s phone number 612-324-0079.

59.   Plaintiff spoke to Defendant’s debt collector and asked them not to keep

      calling, explaining that she had no income but again promising that she

      would call Defendant back as soon as she returned to work to make

      arrangements to pay. Thereafter, the collection call ended.



                                          -10-
      CASE 0:20-cv-00964-DSD-ECW Doc. 1 Filed 04/16/20 Page 11 of 25




60.   Plaintiff was extremely upset by the receipt of this collection call from

      Defendant because she had already repeatedly explained her financial

      situation and demanded that Defendant stop calling her cellular telephone.

                   Second Collection Call on January 15, 2020

61.   On January 15, 2020, at approximately 1:22 p.m., Plaintiff received a call

      from Defendant’s phone number 612-324-1249.

62.   Plaintiff spoke to Defendant’s debt collector and asked them not to keep

      calling, explaining that she had no income but again promising that she

      would call Defendant back as soon as she returned to work to make

      arrangements to pay. Thereafter, the collection call ended.

63.   Plaintiff was extremely upset and emotional by the receipt of this collection

      call from Defendant because she had already repeatedly explained her

      financial situation and demanded that Defendant stop calling her cellular

      telephone.

           Summary of Illegal Collection Conduct Under the FDCPA

64.   Thereafter, Plaintiff has been afraid to answer her cellular telephone because

      she is never certain who might be calling her.

65.   Plaintiff was in an extremely fragile state and has suffered substantial

      emotional distress and embarrassment by repeatedly having to say that she

      had lost her job and had no income.



                                       -11-
      CASE 0:20-cv-00964-DSD-ECW Doc. 1 Filed 04/16/20 Page 12 of 25




66.   Plaintiff was made to feel humiliated and ashamed by Defendant at having

      to repeat her financial circumstances day after day, and felt that she was

      being harassed and punished as a result of her unemployment for the first

      time in over 30 years.

67.   All of the foregoing actions by Defendant were done in violation of

      numerous and multiple provisions of the FDCPA including, but not limited

      to 15 U.S.C. §§ 1692c(a)(1), 1692c(a)(3), 1692d, 1692d(5), 1692e,

      1692e(2)(A), 1692e(5), 1692e(10), 1692f, and 1692f(1), amongst others.

                     Telephone Consumer Protection Act Violations

68.   At all times relevant to this complaint, Plaintiff was and is a “person” as

      defined by the TCPA 47 U.S.C. § 153(39) and a subscriber to cellular

      telephone services within the United States.

69.   At all times relevant to this complaint, the Defendant has used, controlled,

      and/or operated “automatic telephone dialing systems” as defined by the

      TCPA 47 U.S.C. § 227(a)(1) and 47 C.F.R. 64.1200(f)(1) (“ATDS”).

70.   The Federal Communications Commission (FCC) was given the authority to

      issue orders implementing the TCPA. The FCC has issued an order that

      states:

                The creditors are in the best position to have records kept in the
                usual course of business showing such consent, such as
                purchase agreements, sales slips, and credit applications.
                Should a question arise as to whether express consent was


                                           -12-
      CASE 0:20-cv-00964-DSD-ECW Doc. 1 Filed 04/16/20 Page 13 of 25




            provided, the burden will be on the creditor to show it obtained
            the necessary prior express consent. Similarly, a creditor on
            whose behalf an autodialed or prerecorded message call is made
            to a wireless number bears the responsibility for any violation
            of the Commission's rules. Calls placed by a third party
            collector on behalf of that creditor are treated as if the creditor
            itself placed the call. In re Rules Implementing the Tel.
            Consumer Prot. Act of 1991, 23 FCC Rcd 559, 565 (F.C.C.
            2007), paragraph 10. (Footnotes omitted)

          Defendant’s Illegal Robo-Calls to Plaintiff Cellular Telephone

71.   In the period within four years of filing this complaint, Defendant began

      robo-calling Plaintiff’s cellular telephone number using an ATDS without

      her prior express consent.

72.   Defendant started calling and continued to call Plaintiff’s cellular telephone

      using an ATDS in an attempt to collect a debt owed to the original creditor.

73.   At no point did Plaintiff give consent of any kind to Defendant to contact her

      on her cellular telephone number, or to robo-call her cellular telephone

      number using an ATDS.

74.   Within four years immediately preceding the filing of this lawsuit,

      Defendant and its agents telephoned Plaintiff’s cellular telephone using an

      ATDS on numerous occasions in violation of the TCPA.

75.   Without Plaintiff’s prior express consent, Defendant and its collectors and

      agents repeatedly used an ATDS to call Plaintiff’s cellular telephone in an

      attempt to collect this debt at least 23 or more times.



                                        -13-
      CASE 0:20-cv-00964-DSD-ECW Doc. 1 Filed 04/16/20 Page 14 of 25




76.   All of Defendant’s robocalls using an ATDS, and the automated

      and/prerecorded messages, delivered to Plaintiff’s cellular telephone were

      sent in willful violation of the TCPA because Defendant never obtained

      Plaintiff’s prior express consent for such robocalls and messages, and had no

      basis to believe that they had Plaintiff’s prior express consent.

77.   Plaintiff did not have any business whatsoever with Defendant.

78.   Plaintiff has never had an account with Defendant, other than this collection

      account.

79.   Plaintiff has never given out her cellular telephone number to Defendant or

      its collectors.

80.   Defendant’s repeated robocalls to Plaintiff’s cellular telephone, within the

      last four years prior to filing this complaint, were illegal third-party attempts

      to collect this debt in violation of the TCPA, 47 U.S.C. § 227 et seq.

                          Invasions of Privacy Violations

81.   In the one year immediately preceding the filing of this lawsuit defendant

      engaged in repeated collection conduct that was both and invasion of privacy

      under Minnesota law, as well as a violation of the FDCPA.

82.   Between approximately January 6, 2020, and January 15, 2020, without

      right or legal authorization, on at least 24 or more occasions, Defendant

      robocalled Plaintiff’s cellular phone, sometimes multiple times per day.



                                        -14-
      CASE 0:20-cv-00964-DSD-ECW Doc. 1 Filed 04/16/20 Page 15 of 25




83.   During several of these robocalls, Plaintiff told Defendant’s collection

      employee that she could not pay this debt at that time and to stop calling her

      cellular telephone.

84.   Defendant ignored Plaintiff’s repeated requests to stop calling her cellular

      telephone.

85.   Plaintiff has suffered actual damages as a result of Defendant’s illegal

      conduct in the form of anxiety, emotional distress, fear, frustration,

      harassment, stress and upset, amongst other negative emotions as well as

      suffering from unjustified and abusive invasions of privacy.

                            Respondeat Superior Liability

86.   The acts and omissions of the debt collectors employed as agents by

      Defendant were committed within the time and space limits of their agency

      relationship with their principal, the Defendant.

87.   The acts and omissions by these individuals and these other debt collectors

      were incidental to, or of the same general nature as, the responsibilities these

      agents were authorized to perform by Defendant in collecting consumer

      debts.

88.   By committing these acts and omissions against Plaintiff, these individuals

      and these other debt collectors were motivated to benefit their principal, the

      Defendant.



                                        -15-
      CASE 0:20-cv-00964-DSD-ECW Doc. 1 Filed 04/16/20 Page 16 of 25




89.   Defendant is therefore liable to Plaintiff through the Doctrine of Respondeat

      Superior for the intentional and negligent acts, errors, and omissions done in

      violation of state and federal law by their collection employees, including

      but not limited to violations of the FDCPA and the TCPA.

                                    Summary

90.   Plaintiff has suffered actual damages as a result of Defendant’s illegal

      conduct in the form of anxiety, emotional distress, fear, frustration and

      upset, amongst other negative emotions as well as suffering from unjustified

      and abusive invasions of personal privacy at Plaintiffs’ home and on her

      cellular telephone.

91.   The above-described collection conduct by Defendant in its efforts to collect

      this alleged debt from Plaintiff were oppressive, deceptive, misleading,

      unfair and illegal communications in an attempt to collect this alleged debt,

      all done in violation of numerous and multiple provisions of the FDCPA.

92.   These collection actions taken by Defendant, and the collection employees

      employed by Defendant, were made in violation of multiple provisions of

      the FDCPA, including but not limited to all of the provisions of the FDCPA

      cited herein.

93.   These violations by Defendant were knowing, willful, negligent and/or

      intentional, and Defendant did not maintain procedures reasonably adapted



                                       -16-
        CASE 0:20-cv-00964-DSD-ECW Doc. 1 Filed 04/16/20 Page 17 of 25




        to avoid any such violations.

94.     Defendant collection efforts with respect to this alleged debt from Plaintiff,

        which caused Plaintiff to suffer concrete and particularized harm because the

        FDCPA provides Plaintiff with the legally protected right to be treated fairly

        and truthfully with respect to any action for the collection of any consumer

        debt.

95.     Defendant’s deceptive, misleading and unfair representations with respect to

        its collection effort were material misrepresentations that affected and

        frustrated Plaintiff’s ability to intelligently respond to Defendant’s collection

        efforts because Plaintiff could not adequately respond to the Defendant’s

        demand for payment of this debt.

                                  TRIAL BY JURY

96.     Plaintiff is entitled to and hereby respectfully demands a trial by jury on all

        issues so triable. US Const. amend. 7. Fed. R. Civ. P. 38.

                                CAUSES OF ACTION

                                        COUNT I.

      VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT

                                  15 U.S.C. § 1692 et seq.

97.     Plaintiff incorporates by reference all of the above paragraphs of this

        Complaint as though fully stated herein.



                                           -17-
      CASE 0:20-cv-00964-DSD-ECW Doc. 1 Filed 04/16/20 Page 18 of 25




98.   The foregoing acts and omissions of Defendant and its agents constitute

      numerous and multiple violations of the FDCPA including but not limited

      to, each and every one of the above-cited provisions of the FDCPA, 15

      U.S.C. § 1692 et seq., with respect to Plaintiff.

99.   As a result of Defendant’s violations of the FDCPA, each Plaintiff is entitled

      to actual damages pursuant to 15 U.S.C. § 1692k(a)(1); statutory damages in

      an amount up to $1,000.00 pursuant to 15 U.S.C. §1692k(a)(2)(A); and,

      reasonable attorney’s fees and costs pursuant to 15 U.S.C. §1692k(a)(3),

      from Defendant .

                                    COUNT II.

  VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT

                                47 U.S.C. § 227 et seq.

100. Plaintiff incorporates by reference all of the above paragraphs of this

      Complaint as though fully stated herein.

101. Within the four-year period immediately preceding this action, Defendant

      made numerous calls to Plaintiff’s cellular telephone service using an

      automatic telephone dialing system in violation of the TCPA, 47 U.S.C. §

      227(b)(1)(A)(iii), and 47 C.F.R. 64.1200 (a)(1)(iii).

102. The acts and or omissions of Defendant at all times material and relevant

      hereto, as described in this complaint, were done unfairly, unlawfully,



                                        -18-
       CASE 0:20-cv-00964-DSD-ECW Doc. 1 Filed 04/16/20 Page 19 of 25




      intentionally, deceptively and absent bona fide error, lawful right, legal

      defense, legal justification or legal excuse.

103. As a causally-direct and legally proximate result of the above violations of

      the TCPA and the C.F.R., Defendant, at all times material and relevant

      hereto, as described in this Complaint, caused Plaintiff to sustain damages.

104. Defendant did not have the necessary prior express consent of Plaintiff to

      use an automatic telephone dialing system to call the Plaintiff’s cellular

      telephone.

105. Under the 47 U.S.C. § 227(b)(3)(B), Defendant is liable to Plaintiff for

      statutory damages under the TCPA of $500.00 per telephone call made to

      Plaintiff.

106. Defendant willfully and knowingly violated the TCPA, and as such Plaintiff

      is entitled to $1,500.00 per telephone call made to the Plaintiff pursuant to

      the 47 U.S.C. § 227(b)(3).

107. Plaintiff is entitled to injunctive relief prohibiting Defendant from contacting

      the Plaintiff on her cellular telephone using an automated dialing system

      pursuant to the 47 U.S.C. § 227(b)(3)(a).

                                    COUNT III.

      INVASION OF PRIVACY BY INTRUSION UPON SECLUSION

108. Plaintiff incorporates by reference all of the above paragraphs of this



                                         -19-
      CASE 0:20-cv-00964-DSD-ECW Doc. 1 Filed 04/16/20 Page 20 of 25




      Complaint as though fully stated herein.

109. Congress explicitly recognized a consumer’s inherent right to privacy in

      collection matters in passing the Fair Debt Collection Practices Act, when it

      stated as part of its findings:

             Abusive debt collection practices contribute to the number of
             personal bankruptcies, to marital instability, to the loss of jobs,
             and to invasions of individual privacy.
             15 U.S.C. § 1692(a) (emphasis added).

110. Congress further recognized a consumer’s right to privacy in financial data

      in passing the Gramm Leech Bliley Act, which regulates the privacy of

      consumer financial data for a broad range of “financial institutions”

      including debt collectors albeit without a private right of action, when it

      stated as part of its purposes:

             It is the policy of the Congress that each financial institution
             has an affirmative and continuing obligation to respect the
             privacy of its customers and to protect the security and
             confidentiality of those customers’ nonpublic personal
             information.
             15 U.S.C. § 6801(a) (emphasis added).

111. Defendant and/or its agents intentionally and/or negligently interfered,

      physically or otherwise, with the solitude, seclusion and/or private concerns

      or affairs of Plaintiff by unlawfully attempting to collect a debt and by

      repeatedly robo-calling Plaintiff at home on her cellular telephone after

      being told to stop, and thereby invaded Plaintiff’s privacy.



                                        -20-
       CASE 0:20-cv-00964-DSD-ECW Doc. 1 Filed 04/16/20 Page 21 of 25




112. Defendant and their agents intentionally and/or negligently caused emotional

      harm to Plaintiff by engaging in highly offensive conduct in the course of

      collecting this debt, thereby invading and intruding upon Plaintiff’s right to

      privacy.

113. Plaintiff had a reasonable expectation of privacy in her solitude, seclusion,

      private concerns or affairs.

114. The conduct of Defendant and its agents, in engaging in the above-described

      illegal collection conduct against Plaintiff, resulted in intrusions and

      invasions of privacy that occurred in a way that would be highly offensive to

      a reasonable person in that position.

115. As a result of such intrusions and invasions of privacy, Plaintiff is entitled to

      actual and punitive damages from Defendant in an amount to be determined

      at trial.

                             PRAYER FOR RELIEF

      WHEREFORE, Plaintiff prays that judgment be entered against Defendant as

follows:

                                     COUNT I.

   VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT

                              15 U.S.C. § 1692 et seq.

           • for an award of actual damages pursuant to 15 U.S.C. § 1692k(a)(1)



                                        -21-
   CASE 0:20-cv-00964-DSD-ECW Doc. 1 Filed 04/16/20 Page 22 of 25




        against Defendant and for Plaintiff;

     • for an award of statutory damages of $1,000.00 pursuant to 15 U.S.C.

        § 1692k(a)(2)(A) against Defendant and for Plaintiff;

     • for an award of costs of litigation and reasonable attorney’s fees

        pursuant to 15 U.S.C. § 1692k(a)(3) against Defendant and for

        Plaintiff;

                               COUNT II.

VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT

                         47 U.S.C. § 227 et seq.

     • for an award of statutory damages of $500.00 per call pursuant to 47

        U.S.C. § 227(b)(3)(B) against Defendant and for Plaintiff;

     • for an award of treble damages of $1,500.00 per call pursuant to 47

        U.S.C. § 227(b)(3) against Defendant and for Plaintiff;

     • for an injunction prohibiting Defendant from contacting Plaintiff on

        Plaintiff’s cellular telephone using an automated dialing system

        pursuant to the 47 U.S.C. § 227(b)(3)(a).

                              COUNT III.

  INVASION OF PRIVACY BY INTRUSION UPON SECLUSION

     • for an award of actual damages from Defendant for the emotional

        distress suffered as a result of the intentional and/or negligent


                                   -22-
      CASE 0:20-cv-00964-DSD-ECW Doc. 1 Filed 04/16/20 Page 23 of 25




            invasions of privacy in an amount to be determined at trial and for

            Plaintiffs; and

         • such other and further relief as the Court deems just and equitable.

                                         Respectfully submitted,

                                         THE BARRY LAW OFFICE, LTD

Dated: April 14, 2020                    By: s/ Peter F. Barry
                                         Peter F. Barry, Esq.
                                         Attorney I.D.#0391787
                                         2828 University Ave. SE, Suite 202
                                         Minneapolis, Minnesota 55414-4127
                                         Telephone: (612) 379-8800
                                         pbarry@lawpoint.com

                                         Attorney for Plaintiff




                                       -23-
       CASE 0:20-cv-00964-DSD-ECW Doc. 1 Filed 04/16/20 Page 24 of 25




           VERIFICATION OF COMPLAINT AND CERTIFICATION

STATE OF MINNESOTA                     )
                                       ) ss
COUNTY OF HENNEPIN                     )

      Pursuant to 28 U.S.C. § 1746, Plaintiff Deborah Vruno verifies, certifies, and
declares as follows:

1.    I am a Plaintiff in this civil proceeding.
2.    I have read the above-entitled civil Complaint prepared by my attorneys and I
      believe that all of the facts contained in it are true, to the best of my
      knowledge, information and belief formed after reasonable inquiry.
3.    I believe that this civil Complaint is well grounded in fact and warranted by
      existing law or by a good faith argument for the extension, modification, or
      reversal of existing law.
4.    I believe that this civil Complaint is not interposed for any improper purpose,
      such as to harass any Defendant(s), cause unnecessary delay to any
      Defendant(s), or create a needless increase in the cost of litigation to any
      Defendant(s), named in the Complaint.
5.    I have filed this civil Complaint in good faith and solely for the purposes set
      forth in it.
6.    Each and every exhibit I have provided to my attorneys which has been
      attached to this Complaint is a true and correct copy of the original.
7.    Except for clearly indicated redactions made by my attorneys where
      appropriate, I have not altered, changed, modified, or fabricated these exhibits,
      except that some of the attached exhibits may contain some of my own
      handwritten notations.

     I declare under penalty of perjury under the laws of the United States of
America that the foregoing is true and correct.

Executed on April 14, 2020


            __________________________________________
            Deborah Vruno Apr 1 2020

            Signature




                                              -24-
CASE 0:20-cv-00964-DSD-ECW Doc. 1 Filed 04/16/20 Page 25 of 25
